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14
                                    UNITED STATES DISTRICT COURT
15
                                          STATE OF NEVADA
16
     LIVEHELPNOW, LLC,                                 Case No. 2:23-cv-00667-APG-BNW
17
                       Plaintiff,                      JOINT STIPULATION AND ORDER
18                                                     FOR DISMISSAL WITH PREJUDICE
            v.
19
     TAWK.TO, INC.,
20
                       Defendant.
21

22          Plaintiff LiveHelpNow, LLC has agreed to dismiss the claims and causes of action brought
23   against Defendant tawk.to, Inc.
24
            Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), IT IS HEREBY
25
     STIPULATED AND AGREED, by and between counsel for Plaintiff and Defendant, that
26
     Plaintiff’s claims are hereby dismissed with prejudice. Each party shall bear its own costs,
27
     expenses, and attorneys’ fees.
28
     Case 2:23-cv-00667-APG-BNW Document 45 Filed 06/28/24 Page 2 of 2



 1          Dated: June 26, 2024.

 2
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 5    /s/ David W. Gutke                            /s/ Stanislav Torgovitsky
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11                                                  Attorneys for Plaintiff LiveHelpNow, LLC
      Attorneys for Defendant TAWK.TO, INC.
12

13

14                                               ORDER
            IT IS SO ORDERED.
15

16

17                                               UNITED STATES DISTRICT COURT JUDGE/
                                                 UNITED STATES MAGISTRATE JUDGE
18
                                                        June 28, 2024
                                                 DATED: _______________________________
19

20                                               CASE NO.: 2:23-CV-00667-APG-BNW

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